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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
UNITED STATES OF AMERICA,

               Plaintiff,                            Case No. 99-80714-1

vs.                                                  HONORABLE PAUL D. BORMAN
                                                     HONORABLE STEVEN D. PEPE

ROBERT DOWER

            Defendant.
________________________/

                                REPORT AND RECOMMENDATION

        Defendant Robert Dower is a prisoner in the custody of the United States. Defendant is

proceeding pro se. Defendant moves under 18 U.S.C. § 3582(c) for reconsideration of sentence.

Defendant was sentenced to 130 months on December 22, 2000, after pleading guilty to

Possession with Intent to Distribute Cocaine Base in violation of 21 U.S.C. § 841(a).

Defendant’s Motion for Reconsideration of Sentence is referred for report and recommendation

pursuant to 28 U.S.C. § 636(B)(1)(B). It is recommended that the motion be DENIED.



        I.     ANALYSIS

        Defendant brings this motion under 18 U.S.C. § 3582(c), which states that a court may

not modify a term of imprisonment after it has been imposed except:

          (1) in any case--
            (A) the court, upon motion of the Director of the Bureau of Prisons, may
        reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set

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       forth in section 3553(a) [18 USCS § 3553(a)] to the extent that they are
       applicable, if it finds that--
             (i) extraordinary and compelling reasons warrant such a reduction; or
             (ii) the defendant is at least 70 years of age, has served at least 30 years in
       prison, pursuant to a sentence imposed under section 3559(c) [18 USCS §
       3559(c)], for the offense or offenses for which the defendant is currently
       imprisoned, and a determination has been made by the Director of the Bureau of
       Prisons that the defendant is not a danger to the safety of any other person or the
       community, as provided under section 3142(g) [18 USCS § 3142]; and that such a
       reduction is consistent with applicable policy statements issued by the Sentencing
       Commission; and
           (B) the court may modify an imposed term of imprisonment to the extent
       otherwise expressly permitted by statute or by Rule 35 of the Federal Rules of
       Criminal Procedure; and
         (2) in the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
       defendant or the Director of the Bureau of Prisons, or on its own motion, the court
       may reduce the term of imprisonment, after considering the factors set forth in
       section 3553(a) [18 USCS § 3553(a)] to the extent that they are applicable, if such
       a reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.

(18 U.S.C. § 3582(c)).

       In order to have his sentence reconsidered under § 3582(c)(1), the Defendant would have

to demonstrate that the Director of the Bureau of Prisons moved for a reduction in the

Defendant’s terms of imprisonment. In order to have his sentence reconsidered under §

3582(c)(2), Defendant must show that the Sentencing Commission has lowered the applicable

sentencing range. Defendant makes no argument that the Sentencing Commission has done so

nor does he suggest that the Director of the Bureau of Prisons moved for a reduction. Therefore,

Defendant fails to establish a ground for the Court to modify his term of imprisonment.

       Regarding Defendant’s claim under United States v. Booker and United States v. Fanfan

543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), this combined decision does not apply

retroactively to cases already final on direct review as Defendant’s. Humphress v. United

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States., 398 F.3d 855, 857 (6th Cir. 2005). Thus, it provides no basis for granting a § 2255

motion or for reconsideration of a federal sentence under 18 U.S.C. § 3582(c) .



       II.     RECOMMENDATION

       For the reasons stated above, IT IS RECOMMENDED that Defendant’s motion be DENIED.

       The parties to this action may object to and seek review of this Report and

Recommendation, but are required to file any objections within ten (10) days of service, pursuant

to 28 U.S.C. § 636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file specific objections

constitutes a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140 (1985); United

States v. Walters, 638 F.2d 947 (6th Cir. 1981). Filing of objections which raise some issues but

fail to raise others with specificity, will not preserve all the objections a party might have to this

report and recommendation. Smith v. Detroit Fed'n of Teachers Local 231, 829 F.2d 1370,1373

(6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served

upon this Magistrate Judge.

       Within ten (10) days of service of any objecting party's timely filed objections, the

opposing party may file a response. The response shall be not more than twenty (20) pages in

length unless by motion and order such page limit is extended by the Court. The response shall

address specifically, and in the same order raised, each issue contained

within the objections.


Dated: December 12, 2005                                s/STEVEN D. PEPE
Ann Arbor, Michigan                                     UNITED STATES MAGISTRATE JUDGE


                                         Certificate of Service


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        I hereby certify that a copy of the above was served upon the attorneys and/or parties of record by
electronic means or U. S. Mail on December 12, 2005.

                                                         s/William J. Barkholz
                                                         Courtroom Deputy Clerk




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